






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00400-CR








Brian Larue Hampton, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NO. 53188, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant's motion to dismiss this appeal is granted.  See Tex. R. App. P. 42.2(a). 
The appeal is dismissed.



				__________________________________________

				Bea Ann Smith, Justice

Before Chief Justice Law, Justices B. A. Smith and Patterson

Dismissed on Appellant's Motion

Filed:   September 11, 2003

Do Not Publish


